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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 vs.                                             §       No. 2:03-CR-19 (17)
                                                 §
 WAYMON DARTY                                    §

                                     MEMORANDUM ORDER

           The above-entitled and numbered criminal action was heretofore referred to a United States

 Magistrate Judge pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge which contains

 his proposed findings of fact and recommendations for the disposition of such action has been

 presented for consideration. Both parties waived their right to file objections to the Report and

 Recommendation. The court is of the opinion that the findings and conclusions of the Magistrate

 Judge are correct. Therefore, the court hereby adopts the report of the United States Magistrate

 Judge as the findings and conclusions of this court. Accordingly, it is hereby

           ORDERED that the defendant’s plea of true to the second allegation as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the second

 allegation, the court finds that the defendant violated the conditions of his supervised release. It is

 further

           ORDERED that the defendant’s supervised release be REVOKED. It is further

           ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of 14 months, with no term of supervised release to follow such term of

 imprisonment.




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        SIGNED this 24th day of March, 2009.



                                          __________________________________________
                                          T. JOHN WARD
                                          UNITED STATES DISTRICT JUDGE




                                               2
